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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

FERNANDO CANTU and                             §
MAYRA J. CANTU,                                §
                                               §
                     Plaintiffs,               §
                                               §
v.                                             §   CIVIL ACTION NO. 4:14-cv-00664
                                               §
THE BANK OF NEW YORK MELLON                    §
 FKA THE BANK OF NEW YORK AS                   §
 TRUSTEE FOR THE CERTIFICATE-                  §
 HOLDERS OF CWABS, INC., ASSET-                §
 BACKED CERTIFICATES, SERIES                   §
 2005-7 BY GREEN TREE SERVICING,               §
GREEN TREE SERVICING, LLC, and                 §
RECONTRUST COMPANY, N.A.,                      §
                                               §
                      Defendants.              §

                    NOTICE OF CHANGE OF NAME OF LAW FIRM

       Robert C. Lane and Thomas Barta (collectively, “Counsel”), counsel for Plaintiffs, notify

the Court and all counsel of record that Middagh & Lane, P.L.L.C. has changed its name to The

Lane Law Firm. All other contact information shall remain the same until further notice:

                                                   Respectfully submitted,

                                                   THE LANE LAW FIRM

                                                   By: /s/ Thomas Barta
                                                   Robert “Chip” C. Lane
                                                   State Bar No. 24046263
                                                   So. District Bar No. 570982
                                                   Thomas A. Barta
                                                   State Bar No. 24085188
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                                                   ATTORNEYS FOR PLAINTIFFS
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been served upon all counsel of record, via facsimile and/or electronic service, on this 12th day of
May, 2014:



Tamara Danielle Stiner Toomer
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                                                     _/s/ Thomas Barta__
                                                     Thomas A. Barta
